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Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 2 of 19 PAGEID #: 2
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 3 of 19 PAGEID #: 3
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 4 of 19 PAGEID #: 4
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 5 of 19 PAGEID #: 5
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 6 of 19 PAGEID #: 6
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 7 of 19 PAGEID #: 7
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 8 of 19 PAGEID #: 8
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 9 of 19 PAGEID #: 9
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 10 of 19 PAGEID #: 10
Case: 2:21-mj-00603-EPD Doc #: 1 Filed: 09/21/21 Page: 11 of 19 PAGEID #: 11
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